Case 3:02-cv-00084-DMS-RBB   Document 483   Filed 05/05/25   PageID.13982   Page
                                   1 of 8
Case 3:02-cv-00084-DMS-RBB   Document 483   Filed 05/05/25   PageID.13983   Page
                                   2 of 8
Case 3:02-cv-00084-DMS-RBB   Document 483   Filed 05/05/25   PageID.13984   Page
                                   3 of 8
Case 3:02-cv-00084-DMS-RBB   Document 483   Filed 05/05/25   PageID.13985   Page
                                   4 of 8
Case 3:02-cv-00084-DMS-RBB   Document 483   Filed 05/05/25   PageID.13986   Page
                                   5 of 8
Case 3:02-cv-00084-DMS-RBB   Document 483   Filed 05/05/25   PageID.13987   Page
                                   6 of 8
Case 3:02-cv-00084-DMS-RBB   Document 483   Filed 05/05/25   PageID.13988   Page
                                   7 of 8
Case 3:02-cv-00084-DMS-RBB   Document 483   Filed 05/05/25   PageID.13989   Page
                                   8 of 8
